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                   Before: Hon. Jane A. Restani, Senior Judge
             UNITED STATES COURT OF INTERNATIONAL TRADE


    United States
                                        Plaintiff,

    v.                                                  Ct. No. 22-000215

    Zhe “John” Liu and
    GL Paper Distribution, LLC

                                     Defendants.



                                    Motion to Dismiss

         Defendant1 Zhe “John” Liu, by and through his attorney, hereby asserts the

affirmative defense that the Statute of Limitations has run, and thus moves pursuant

to Rule 12(b) of the Rules of the Court of International Trade for dismissal of this

case with respect to Defendant Liu as untimely filed. This affirmative defense was

raised in Defendant Liu’s answer. Defendant Liu further moves, in the alternative,

pursuant to Rule 12(b) of the Rules of the Court of International Trade for dismissal

of this case against Defendant Liu for failure to state a claim against Defendant Liu.

This affirmative defense was also raised in Defendant Liu’s answer.

1
 As defendant GL Paper Distribution is a corporation, it can only appear in this matter through
counsel. Counsel of Defendant Liu’s appearance was only for Defendant Liu and not for GL
Paper. Accordingly, GL Paper has not, to date, appeared in this matter and thus would appear to
be in default. The relative positions of Defendant Liu and GL Paper are, to some degree in
opposition, and this filing expressly does not represent the views or opinions of GL Paper.
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Facts:

      On December 20, 2022, Defendant Liu issued a Second Request for

Admission from the Plaintiff, United States, pursuant to Rule 36 of the Rules of the

U.S. Court of International Trade. The Court has addressed this request and directed

that the Plaintiff further respond to requests 1-65 therein. On March 10, 2023 , the

Court also ordered that requests 66-69 were deemed admitted. Accordingly, the

following are now established as additional facts:

      (1) Zhe “John” Liu’s name does not appear on any CF-7501s for the
          entries the subject of this matter;
      (2) Zhe “John” Liu’s name does not appear on any importer security
          filings for the entries the subject of this matter;
      (3) Zhe “John” Liu’s name does not appear on any Commercial
          Invoices for the entries the subject of this matter; and,
      (4) Zhe “John” Liu’s name does not appear on any other entry
         documentation, as defined by 19 CFR 142.3(a) for the entries the
         subject of this matter.
      Defendant Liu notes that, the issue as to the date of the submission of the entry

paperwork is the subject of requests 1-65 of Defendant Liu’s second request for

admissions and pursuant to the Court’s order, the United States will be responding

to these requests by March 31, 2023.

      Such admissions already made simplify the resolution of this case as they

establish beyond a doubt that the case was untimely filed. Such conclusions can also

be solely derived from the pleadings. The complaint reflects a number of these
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facts. In paragraph 18, Plaintiff acknowledged that “GL Paper’s public documents

did not disclose Liu’s involvement with the company” and further claimed that “Liu

caused GL Paper to introduce or attempt to introduce, steel wire hangers”.        The

complaint does not claim that Liu introduced or attempted to introduce the goods.

(Complaint at ¶18).

      The complaint alleges dates of entry, but does not allege the dates of the

purported conduct. Critically, the date of entry is not the date that the paperwork is

submitted to Customs. It is the date that the submitted paperwork is accepted by

Customs. 19 CFR 141.68 sets for the rules for determining the date of entry. The

date of the submission of the paperwork is no later than the date of entry.

      The complaint makes no specific factual allegation with respect to Defendant

Liu. The only two factual allegations were in paragraph 3 and paragraph 18. The

first allegation was a general allegation in which Defendant Liu was generally

alleged to have operated, directed, act as an agent or handled the importation of

merchandise for a number of entities including Defendant GL Paper and 5 other

entities which are not a part of this action, but without specifying which conduct was

undertaken by each entity.    Critically, the allegation, which states that John Liu

operated and directed the entities also stated that John Liu was an agent of such

entities. This is not possible and is more than a semantic argument. The plaintiff’s
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case appears to be based on control, and the differences between a principal and an

agent directly relate to control. One cannot be both a principal and an agent, the two

are mutually exclusive.      This allegation combined multiple conduct which

necessarily would not be part of this matter and thus is not a proper allegation.

      Paragraph 3 states:

      Defendant Zhe “John” Liu (Liu) was a Florida resident who resided at
      1448 Holts Grove Circle, Winter Park, Florida. He operated, directed,
      was an agent of, and handled the importation of merchandise for
      multiple companies incorporated in Florida, including defendant GL
      Paper Distribution, LLC (GL Paper), NC Supply, Inc., NC Supply
      Group, LLC, CEK Group, LLC (CEK), Garment Cover Supply, LLC
      (GCS), and AB MA Distribution Corp. (ABMA), all companies
      through which LIU directed and abetted the importation of steel wire
      hangers.


      The second allegation claims that Defendant Liu formed or caused the

formation of GL Paper in June, 2016. If the act is the formation of GL Paper and

the provision of advice as how to set up and operate GL Paper, even if such conduct

had occurred, the statute of limitations for such conduct would have run more than

one (1) year before the date of filing of this action. The allegation makes an

unsupported and general allegation that Liu “caused” GL Paper to act.

Paragraph 18 states:

      Beginning in June 2016, Liu formed or caused the formation of GL
      Paper. GL Paper’s public documents did not disclose Liu’s involvement
      with the company. Liu, however, controlled and directed the operations
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      of the company and its entry of steel wire hangers into the United
      States. From February through August 2017, Liu caused GL Paper to
      introduce, or attempt to introduce, steel wire hangers into the commerce
      of the United States, claiming that they were manufactured in Malaysia.
      These steel wire hangers were, in fact, manufactured in PRC. Liu and
      GL Paper did not exercise reasonable care to ensure the country of
      origin declared for these steel wire hangers was accurate. By falsely
      declaring that these hangers were manufactured in Malaysia, GL Paper
      avoided paying the antidumping duty rate on steel wire hangers from
      PRC. The time, place, ports of entry, and other details relating to these
      entries are identified in Exhibit A to this complaint.

Claims Presented by Defendant Liu:

   a. The Statute of Limitations has Run

      The Statute of Limitations has run and this action is untimely. Under the

Rules of this Court, defendant must raise the issue of the Statute of Limitations early

in the proceedings. Defendant Liu has done so. In United States v. Zeigler Bolt and

Parts Company, 111 F.3d 878 (Fed. Cir. 1997) the Court stated:

      CIT Rules 12(g) and 12(h) provide for waiver of the defenses of
      inadequate service and personal jurisdiction if those defenses are
      omitted from the defendant's answer or omitted from a motion to
      dismiss under CIT Rule 12. Ziegler complied with the express terms of
      these rules by including affirmative defenses eight and nine in its
      answer. The Government concedes that Ziegler did not waive its
      defenses under the express terms of these rules.


      Defendant Liu included the affirmative defense of the statute of limitations in

its answer at 31 – 32 and also expressly stated this at page 10 of its initial answer.
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      The issue as to the expiration of the statute of limitations is straightforward

issue, there are no legitimate factual disputes, and the facts of record establish that

the filing of this matter by the Plaintiff with this Court was not timely.

        The Statutes of Limitation in 19 USC 1592 matters based on negligence are

governed by 19 U.S.C. 1621. It reads in relevant part:

      No suit or action to recover any duty under section 1592(d), 1593a(d)
      of this title, or any pecuniary penalty or forfeiture of property accruing
      under the customs laws shall be instituted unless such suit or action is
      commenced within five years after the time when the alleged offense
      was discovered, or in the case of forfeiture, within 2 years after the time
      when the involvement of the property in the alleged offense was
      discovered, whichever was later; except that—

      (1)in the case of an alleged violation of section 1592 or 1593a of this
      title, no suit or action (including a suit or action for restoration of lawful
      duties under subsection (d) of such sections) may be instituted unless
      commenced within 5 years after the date of the alleged violation or,
      if such violation arises out of fraud, within 5 years after the date of
      discovery of fraud, and

      (2)the time of the absence from the United States of the person subject
      to the penalty or forfeiture, or of any concealment or absence of the
      property, shall not be reckoned within the 5-year period of limitation.

      Under the plain language of the statute, any action, other than one based on

fraud, must be commenced within 5 years after the date of the alleged violation.

The language of the statute does not state 5 years from the date of entry, it states five

years from the date of the alleged violation. As this case was filed on July 21, 2022,

it could only properly include negligent or grossly negligent conduct which occurred
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on or after July 21, 2017. This is consistent with the Court decision in United States

v. Islip, 18 F.Supp.2d 1047 (Ct. Int’l Trade 1987) and shifts the burden to the United

States to establish that some exception applies. Islip also confirms that the limitation

period begins to run “on the date of the alleged violation”.        The Court in Islip

stated:

      Defendant argues that the statute of limitations bars the Government's
      claims that are based upon grossly negligent or negligent acts which
      occurred more than five years prior to August 10, 1993. Defendant's
      Motion to Dismiss at 14-16. Defendant bears only the initial burden of
      production to show that the Government's claims are time-barred in
      connection with extinguished causes of action; the burden then shifts to
      the Government to show that the extinguished claims are actionable by
      virtue of some exception to the statute of limitations. United States v.
      Hitachi America. Ltd.. 964 F.SUPP. 344, 388 (CIT 1997)

      * * *

      19 U.S.C. § 1621 imposes a five year limitation period on claims
      involving violations of 19 U.S.C. § 1592 which arise out of gross
      negligence or negligence. The limitation period begins running on
      the date of the alleged violation. 19 U.S.C. § 1621.
      Islip at 1068 (Emphasis Added)

      The United States has cited several cases for the proposition that the date of

entry is the date from which the statute of limitations runs. These cases are not,

however, relevant. In those cases, the issue related to a material false statement by

the importer of record or an officer or official of the importer of record. In United

States v. Rockwell International Corp., 628 F.Supp. 206, 209 as acknowledged by
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the United States, the Court expressly noted that “Therefore, the timeliness of this

action is determined not by the date on which the estimated declaration of assembly

costs was filed, but rather by the dates on which Rockwell entered the

merchandise.” Rockwell was the importer of record. In a similar fashion, the Court

in United States v. Optrex America, Inc., 29 CIT 1494, (Ct. Int’l Trade 2005) again

addressed the issue of the statute of limitations as it applied to the importer of record.

That is not the case with respect to Mr. Liu. The United States has admitted that Liu

was not the importer of record.

       The “date of entry” is also a term of art and is defined by the CFR as

follows:

           19 C.F.R. § 142.2 Time for filing entry.

       (a) General rule: After arrival of merchandise. Merchandise for which
       entry is required will be entered within 15 calendar days after landing
       (emphasis added) from a vessel, aircraft or vehicle, or after arrival at
       the port of destination in the case of merchandise transported in bond.
       (b) Before arrival of merchandise —
       (1) Entry. The entry documentation required by § 142.3(a) may be
       submitted before the merchandise arrives within the limits of the port
       where entry is to be made, in which case the time of entry shall be
       the time specified in § 141.68(a) (emphasis added)2.




2
  19 C.F.R. § 142.2 (Lexis Advance through the Jan. 31, 2023, issue of the Federal Register, with
the exception of the amendments appearing at 88 FR 6376, 88 FR 6578, 88 FR 6597, 88 FR 6600,
and 88 FR 6145).
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       Furthermore, 19 C.F.R. § 141.683, in relevant part, defines the time of entry

of merchandise as either:


       (1) “the time the appropriate CBP officer authorizes the release of the
       merchandise,” (requires an entry number to release – aka filing of an
       entry)
       (2) “the time the entry documentation is filed (ELECTRONICALLY
       OR NOT), or (3) if entry documents are submitted before arrival, “the
       time the merchandise arrives within the port limits”

       The Automated Commercial Environment (ACE) is the system through which

electronic trade transactions are recorded by CBP. Filers now typically submit

documents previously submitted on paper (colloquially “paperwork”) to CBP.

Additionally, other documents that may ultimately be submitted to CBP with Forms

3461 and 7501 may be transmitted to CBP prior to the date of entry.

       In all such cases, the date of entry would occur after the filing of the initial

entry documentation. If the “false statement” by Mr. Liu, as alleged by CBP and by

the U.S., is that he assisted in the preparation of the entry documentation, an

assertion which is unsupported by the record, such action necessarily occurred prior

to the “date of entry”, and in fact, CBP had the entry paperwork, which purportedly




3
  19 C.F.R. § 141.68 (Lexis Advance through the Jan. 31, 2023, issue of the Federal Register, with
the exception of the amendments appearing at 88 FR 6376, 88 FR 6578, 88 FR 6597, 88 FR 6600,
and 88 FR 6145).
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contained the false statement well before the formal date of entry – which date is

controlled by CBP.

       Thus, a key question in this matter is the date of the alleged violation. In this

case, the date of the alleged violation is in the possession of U.S. Customs and

Border Protection and the non-responsive defendant GL Paper and is not in the

possession of Defendant Liu4. Plaintiff has never stated this date in either the

administrative proceedings or the Court filing. As claimed by Defendant Liu in both

the administrative proceeding and the answer, Defendant Liu was not involved in

the transaction nor was an owner, officer employee or director of GL Paper and the

Plaintiff has not alleged the specific act or acts undertaken by Defendant Liu

Defendant Liu can, however, based on the complaint and the admissions by the

Plaintiff establish a date by which any such action would have occurred.

       The complaint’s most detailed allegation is that Defendant Liu caused the

formation of GL Paper in June of 2016, but even if this were true, such conduct was

more than 5 years before the filing of the Court action and thus beyond the statute

of limitations period.




4
 Plaintiff has made a number of unsupported charges that John Liu is lying in his submissions,
but has provided no documentation of any kind, or cited to any conduct, which suggests that John
Liu is lying.
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      In its complaint, the plaintiff alleges that GL Paper made the improper

declaration. Plaintiff does not state the date of filing of the entry documentation with

CBP. It does not allege that Defendant Liu made the declaration, and in fact plaintiff

admits that John Liu’s name does not appear on any of the entry documentation. The

complaint alleges that Defendant Liu caused GL Paper to introduce or attempt to

introduce the hangers. Plaintiff does not specify the act or acts made by Defendant

Liu nor the date that such act was undertaken. In other words, the complaint alleges

that Defendant Liu caused GL Paper to make the entry with specific information

without specifying either the act or the date of the act. While Defendant Liu denies

that he engaged in any such action, Defendant Liu’s conduct necessarily occurred

before the entry paperwork was prepared and submitted by GL Paper to Customs.

The United States admitted, by not timely replying to the first request for admissions,

that the entry paperwork was submitted to CBP on or before July 20, 2017,

Defendant Liu’s action occurred at some unspecified date prior to July 20, 2017. As

this action was commenced more than five (5) years after the date of Defendant Liu’s

actions with respect to the last entry in time, it is thus untimely. Defendant Liu offers

no opinion as to whether or not the statute of limitations has run for the other

Defendant GL Paper, but as it has run against Defendant Liu, the matter, at least with

respect to Defendant Liu should be dismissed.
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   b. Plaintiff Fails to State a Claim Against Defendant Liu

      Defendant Liu also moves under Rule 12(b) for dismissal of the action for

failure to state a claim against Defendant Liu.    The allegations against Defendant

Liu are both minimal and devoid of fact.

 Paragraph 3 of the complaint states:

      Defendant Zhe “John” Liu (Liu) was a Florida resident who resided at
      1448 Holts Grove Circle, Winter Park, Florida. He operated, directed,
      was an agent of, and handled the importation of merchandise for
      multiple companies incorporated in Florida, including defendant GL
      Paper Distribution, LLC (GL Paper), NC Supply, Inc., NC Supply
      Group, LLC, CEK Group, LLC (CEK), Garment Cover Supply, LLC
      (GCS), and AB MA Distribution Corp. (ABMA), all companies
      through which LIU directed and abetted the importation of steel wire
      hangers.

      Paragraph 18 of the complaint states:

      Beginning in June 2016, Liu formed or caused the formation of GL
      Paper. GL Paper’s public documents did not disclose Liu’s involvement
      with the company. Liu, however, controlled and directed the operations
      of the company and its entry of steel wire hangers into the United
      States. From February through August 2017, Liu caused GL Paper to
      introduce, or attempt to introduce, steel wire hangers into the commerce
      of the United States, claiming that they were manufactured in Malaysia.
      These steel wire hangers were, in fact, manufactured in PRC. Liu and
      GL Paper did not exercise reasonable care to ensure the country of
      origin declared for these steel wire hangers was accurate. By falsely
      declaring that these hangers were manufactured in Malaysia, GL Paper
      avoided paying the antidumping duty rate on steel wire hangers from
      PRC. The time, place, ports of entry, and other details relating to these
      entries are identified in Exhibit A to this complaint.
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      These allegations are devoid of any facts in support of the allegations against

Defendant Liu. This is akin to the situation in United States v. Greenlight Organic

Inc, 419 F.Supp.3d 1298 (Ct. Int’l Trade 2019).          In Greenlight CBP made

insufficient allegations in the administrative matter and the subsequent court

complaint. While the Greenlight case involved Fraud, the legal standard enumerated

therein was relevant. As noted by the Court:

      To survive a Rule 12(b)(6) motion to dismiss, "a complaint must
      contain sufficient factual matter ... to 'state a claim to relief that is
      plausible on its face.'" Iqbal. 556 U.S, at 678, 129 S.Ct, 1937 (quoting
      Bell Atl. Corp, v. Twombly, 550 U.S. 544, 570. 127 S.Ct. 1955. 167
      L.Ed.2d 929 (2007)). "A claim has facial plausibility when the plaintiff
      pleads factual content that allows the court to draw the reasonable
      inference that the defendant is liable for the misconduct alleged." Id.
      "The plausibility standard is not akin to a 'probability requirement,' but
      it asks for more than a sheer possibility that a defendant has acted
      unlawfully." Id. Courts are not required to accept as true "legal
      conclusions" or "[threadbare recitals of the elements of a cause of
      action, supported by mere conclusory statements[.]" Id.; Kam-Almaz v.
      United States, 682 F.3d 1364, 1368 (Fed. Cir. 2012).

      Although intent or knowledge may be alleged generally, "the
      circumstances constituting fraud" must be stated "with particularity[.]"
      USCIT R. 9(b); Exergen Corp. v. Wal-Mart Stores. Inc., 575 F.3d 1312,
      1326 Fed. Cir. 2009). The plaintiff must inject factual precision or some
      measure of substantiation, i.e., pleading in detail "the who, what, when,
      where, and how of the alleged fraud." Exergen, 575 F.3d at 1327.
      Greenlight Organic Inc at 1303.

      In Greenlight the deficiencies included:

      And nowhere does Plaintiff identify or attribute to a specific Defendant
      who made what statements that were false and material, or critically,
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      the degree of each Defendant's participation in the fraudulent scheme;
      (Greenlight at 1305)

      Instead, Plaintiff combines Greenlight, Aulakh, and "and other
      Greenlight agents" together to allege that they "knowingly made
      material false statements" about the classification and value of the
      subject merchandise. See Am. Compl. ¶¶ 6-8, 10-16, 24 (alleging as a
      group that "Greenlight, under the direction of Aulakh, and other
      Greenlight agents," made false statements aimed at misclassifying and
      undervaluing the subject merchandise). (Greenlight at 1305)

      The complaint is replete with allegations that, because of his high-level
      role as Greenlight's owner and president, Aulakh must have directed
      Greenlight to make materially false and misleading statements.
      (Greenlight at 1305)

      There are similarities between Greenlight and this matter. In Greenlight the

complaint does not identify any specific false material or statement made by

Defendant Liu. In this matter, the complaint does not allege that Defendant Liu

made any specific statement, rather the complaint combines Defendant GL Paper

and Defendant Liu and a number of companies having nothing to do with this matter

together and then alleges some general complaint based on this grouping. In this

matter, the complaint is not “replete” with allegations based on Defendant Liu’s

purported high-level role with the other defendant, but such allegation is the primary,

if not only, basis for including Defendant Liu. It is a factual unsupported allegation

that “Liu, however, controlled and directed the operations of the company and its

entry of steel wire hangers into the United States.” Such allegation is legally
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insufficient.   The claim does not have sufficient factual content to support a

conclusion that defendant is liable for the misconduct alleged.       Rather, it is a

threadbare recital of the elements of a cause of action supported by mere conclusory

statements. Critically, the Courts have also held that:

      Absent adequate facts supporting the fraud allegations, Plaintiff
      cannot impute knowledge to Aulakh merely by virtue of his
      position of power and influence over Greenlight. See Exergen. 575
      F.3d at 1327 & n,4.
      Greenlight at 1305. (Emphasis Added)

      In this matter, the complaint seeks to input not only knowledge to Defendant

Liu of the actions of GL Paper, but also control, by making factually unsupported

allegations that Defendant Liu had a position of power and influence over GL Paper.

      Finally, Defendant Liu submits that the burden shifting of 19 USC 1592(e)(4)

is inapplicable in this case. The provision provides:

      (4)if the monetary penalty is based on negligence, the United States
         shall have the burden of proof to establish the act or omission
         constituting the violation, and the alleged violator shall have the
         burden of proof that the act or omission did not occur as a result of
         negligence.


      Defendant Liu submits that before the burden of proof shifts to the alleged

violator, the United States must establish the act or omission that constituted the

violation and must establish some tie between the Defendant and the action. In this

case, while Defendant GL Paper may have committed an act or omission which
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constitutes the violation, there is simply no showing that Defendant Liu engaged in

any act or omission which constitutes a violation.               The fact that a violation may

have occurred does not shift the burden if the purported defendant was not involved

in the conduct.

          c.  New Theories Not Previously Alleged Administratively Or In The
          Complaint

          In its response,5 the United States, for the first time, alleges some sort of

conspiracy or scheme, never-before alleged at the administrative level.6 For the

Honorable Court’s ease of reference, CBP handled this case administratively,

following 19 U.S.C. 1592 and CBP Regulations at 19 C.F.R. Part 171. Below is the

chronological order of events of CBP’s pre-penalty and penalty process against GL

Paper and Mr. Liu:

      a. Pre-Penalty Notice issued Jointly and Severally to GL Paper Distribution LLC

          and John Liu, dated March 29, 20227, accompanied by a Pre-Penalty

          Statement, and with administrative case number 2022-4601-300560-01. It is

          Mr. Liu’s position that CBP failed to follow disclose all the material facts



5
 THE UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION TO STRIKE. Case
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6
    For ease of reference, all of the Administrative Documents are appended to this reply.
7
    Attachment I
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         which establish the alleged violation as required by 19 U.S.C.

         1592(b)(1)(A)(iv).

      b. Penalty Notice issued in the amount of $7,271,233.198, which is equal to

         calculations completed by the Base Metal Center. The penalty is based on a

         determination of negligence and, we again assert that CBP failed to disclose

         all the material facts which establish the alleged violation as required by 19

         U.S.C. 1592(b)(1)(A)(iv).

      c. Penalty Decision issued by CBP Headquarters, Case # H325552 on June 17,

         2022, stating that CBP has sufficiently established by a preponderance of the

         evidence that GL Paper Distribution, LLC and Mr. Liu committed violations

         of 19 U.S.C. 1592 at a level of culpability of negligence. In this administrative

         decision9, CBP stated that:

                “However, based on the preponderance of the evidence in the record,
                CBP determined that, even if Mr. Liu was not the named importer of
                record and not listed in GL Paper Distribution’s corporate structure,
                Mr. Liu was, nonetheless, a “person” within the meaning of the statute
                because he arranged for the entry of the hangers and produced
                documentation with which to file the entries.”




8
    Attachment II
9
 CBP’s Administrative Decision H325552 RDJ, issued by CBP Office of Trade, Regulations
and Rulings, Penalties Branch, dated June 17, 2022, denying relief for petition filed by Mr. John
Liu for penalty case 2022-4601-300560-01 issued against GL Paper Distribution, LLC, Analysis
Section, page 10 of 13. Hereinafter “Administrative Denial, 06-17-2022”. Page 10 of 13.
(Attachment III)
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CBP did not provide a single document, legal reference or proof to back said

conclusion.

                 i.    CBP did not establish how Liu was a “person” within
                         the meaning of the statute.

                 ii. CBP did not establish how he arranged for the entry of
                       the hangers and produced documentation with
                       which to file the entries for GL Paper

                 iii. CBP did not establish how Mr. Liu was “anyone in a
                       position to satisfy the other elements of a 19 U.S.C.
                       1592(a) violation as it relates to GL Paper

                 iv. CBP fails to provide Mr. Liu with “the evidence
                      gathered by the BMCEE” mentioned in this
                      Administrative Decision which allegedly indicates
                      that Mr. Liu had a role in the importation for any
                      entries pertaining to GL Distribution.

                 v.     CBP fails to provide any evidence to support that Mr.
                         Liu’s participation in other businesses not related to
                         GL Distribution, his knowledge of AD duties and
                         the fact that he had imported steel wire hangers at
                         another time had anything to do with GL
                         Distribution’s purported violations of the statute.

                 vi.    CBP cannot meet its own assertion10 that other
                         individuals that are not the importer of record can
                         violate 19 U.S.C. 1592 because they have failed to
                         prove Mr. Liu personally participated in the
                         violation.




10
     “Administrative Denial, 06-17-2022”. Page 11 of 13, footnote 7.
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          If the monetary penalty is based on negligence, not only CBP in the

administrative realm, but also the United States in the instant case, shall have the

burden of proof (emphasis added) to establish the act or omission constituting the

violation, and the alleged violator shall have the burden of proof that the act

or omission did not occur as a result of negligence. 19 U.S.C.S. § 1592(e)11. If CBP

in the administrative process, and the U.S. in the CIT, both failed to establish the

actual act or omission allegedly effected by Mr. Liu, then Mr. Liu is deprived of an

adequate defense as until he knows of the act, it is impossible for him to establish

that the act or omission did not occur as a result of negligence.

          Critically, Mr. Liu was not involved with the filing of the entry and this

appears to be the only act or omission cited by CBP. As an example, CBP’s

Administrative Decision H32555212 cites to United States v. Golden Ship Trading,

22 CIT 950, 953 (1998), to attempt to explain how someone who is not the importer

of record can be held liable for a violation he did not commit or for an omission of

an action he was not required to take. CBP fails to cite a pertinent portion of Golden

Ship, which states that the defendant was found to have negligently introduced

11
     United States v. Matthews, 31 Ct. Int'l Trade 2075, 2076, 533 F. Supp. 2d 1307, 1308 (2007).
12
  CBP’s Administrative Decision H325552 RDJ, issued by CBP Office of Trade, Regulations and
Rulings, Penalties Branch, dated June 17, 2022, denying relief for petition filed by Mr. John Liu
for penalty case 2022-4601-300560-01 issued against GL Paper Distribution, LLC, Analysis
Section, page 10 of 13. Hereinafter “Administrative Denial, 06-17-2022”. Page 10 of 13.
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merchandise into the commerce of the United States because, despite not exercising

reasonable care, “she still signed and certified the accuracy of the information

contained in the entry documents.13”

       In this case, Mr. Liu did not sign or certify any entry documentation for GL

Paper so CBP’s analysis comparing the finding in Golden Ship to mean the

defendant in that case and Mr. Liu took the same actions to evade or make false

statements, is faulty and insufficient to plead in detail14 the who, what, when, where,

and how of the alleged fraud.

       As detailed below, many of the allegations made in the response were never

made administratively, and many of these allegations are even contrary to the

response to the motion to strike filed by the Plaintiff earlier in this case. The Plaintiff

continues to “change” its arguments leaving Defendant with a moving target.

Specifically, the Plaintiff, in its response, now, alleges, though had previously

never alleged the following:




13
  United States v. Golden Ship Trading, Page 14, https://www.cit.uscourts.gov/sites/cit/files/01-
7.pdf
14
  Greenlight II, 44 CIT at, 466 F. Supp. 3d at 1263 (quoting Exergen Corp. v. Wal-Mart Stores,
Inc., 575 F.3d 1312, 1327 (Fed. Cir. 2009).
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          1. Mr. Liu orchestrated a multi-year fraud scheme through GL Paper.15

However, the CBP Pre-Penalty or Penalty notices issued by CBP include no mention

of an alleged multi-year fraud scheme. No multi-year fraud scheme was also alleged

in the response to the motion to strike.

          2. Mr. Liu, since 2004, had imported steel wire hangers from the People’s

Republic of China through other companies. However, the CBP Pre-Penalty or

Penalty notices issued by CBP include no mention of importations since 2004

through other companies and, even if it did, they are irrelevant to prove the alleged

involvement as a contributor to GL Paper’s alleged violations of 19 U.S.C. 1592.

Furthermore, in the response to the motion to strike (Document 9) the basis for the

citation to these other companies was claimed to be presented to show that Mr. Liu

knew the processes and procedures and thus did not engage in reasonable care. Even

at this late date, well after the conclusion of the administrative proceedings, and well

after the filing of the action, the Plaintiff was not arguing that such data established

control by Mr. Liu.

          3. After antidumping duties were imposed on steel wire hangers from PRC,

Mr. Liu formed GL Paper and through it, transshipped hangers from PRC through




15
     CBP Allegations in Italics.
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Malaysia to avoid paying these duties. However, the CBP Pre-Penalty or Penalty

notices issued by CBP include no mention of the above-captioned allegation.

      4. When the Government inspected GL Paper’s purported Malaysian wire

hanger manufacturer and exposed that it did not produce hangers, Mr. Liu dissolved

GL Paper and opened other companies to continue the scheme. However, the CBP

Pre-Penalty or Penalty notices issued by CBP include no mention of the above-

captioned allegation.

      5. Over the course of more than a decade, Mr. Liu formed and used multiple

companies, including GL Paper, to evade paying antidumping duties. However, the

CBP Pre-Penalty or Penalty notices issued by CBP include no mention of the above-

captioned allegation and, if alleged, provided no proof that Mr. Liu “formed” GL

Paper and/or used multiple companies with the specific intent to evade paying

antidumping duties, which would warrant allegation of fraud and not negligence as

stated in the notices.

      6. Mr. Liu’s efforts to conceal his role in the scheme due to his ample history

in the industry, and his knowledge of antidumping duties. However, the CBP Pre-

Penalty or Penalty notices issued by CBP include no examples or proof of any

alleged efforts to conceal his unproved role in an alleged scheme. In fact, for most

of the companies listed, Mr. Liu’s ownership and control was open and obvious.
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      7. Mr. Liu discussed with third parties the costs associated with these duties

and the prospect of importing hangers through other countries. However, the CBP

Pre-Penalty or Penalty notices issued by CBP include no mention of these

discussions and, even if these alleged discussions took place, discussing the costs

associated with duties for a specific merchandise does not constitute fraudulent or

criminal behaviors, CBP failed to provide proof of these discussions and how these

discussions allegedly constituted negligent (as opposed to fraudulent) behavior

attributed to Liu.

      8. After the antidumping order had been announced, Liu set up a succession

of shell companies through which Liu continued to import steel wire hangers,

including: CEK Group, LLC (CEK) in 2012, id., ¶ 7, Garment Cover Supply, LLC

(GCS) in 2013, id., ¶ 8; defendant GL Paper in 2016, id., ¶ 4; and AB MA

Distribution Corp. (ABMA) in 2018. However, the CBP Pre-Penalty or Penalty

notices issued by CBP include no evidence of the alleged succession of shell

companies and, even if Mr. Liu did establish companies, CBP did not provide any

evidence to support a statement that these companies were “shell” companies

established to evade or to fraudulently behave. Quite to the contrary, in the response

to the motion to strike, the existence of these other companies was only alleged to

provide knowledge sufficient to defeat reasonable care.
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      9. Mr. Liu tried to conceal his role in the scheme by forming companies using

names of other individuals. However, the CBP Pre-Penalty or Penalty notices issued

by CBP include no mention of the above-captioned conduct or that the formation of

other companies and the collaboration with other individuals rises proves violations

of 19 U.S.C. 1592.

      10. When the Government sought to recover duties owed from a company

that Mr. Liu had created, or discovered that a company that Mr. Liu had created,

had submitted false statements regarding its imports, Mr. Liu shut down that

company and continued to import hangers through a new one. However, the CBP

Pre-Penalty or Penalty notices issued by CBP include no mention of the above-

captioned actions and has not provided a single piece of evidence proving Mr. Liu

gave false statements to CBP or anyone else at the U.S. Government. Secondly,

plaintiff argues “semantic gamesmanship” such as the argument that Mr. Liu cannot

be both a principal and agent of G.L. Paper. Such argument hides critical facts. In

the complaint the United States alleged:

      Paragraph 3 states:

      Defendant Zhe “John” Liu (Liu) was a Florida resident who resided at
      1448 Holts Grove Circle, Winter Park, Florida. He operated, directed,
      was an agent of, and handled the importation of merchandise for
      multiple companies incorporated in Florida, including defendant GL
      Paper Distribution, LLC (GL Paper), NC Supply, Inc., NC Supply
      Group, LLC, CEK Group, LLC (CEK), Garment Cover Supply, LLC
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      (GCS), and AB MA Distribution Corp. (ABMA), all companies
      through which LIU directed and abetted the importation of steel wire
      hangers.

      In other words, the Plaintiff made this impossible allegation. Critically, as

discussed above, Plaintiff has never stated Liu’s relationship with G.L. Paper, nor,

until the response to the motion to dismiss, set forth its theory as to why Liu might

be responsible for the acts of a company that he did not own, was not an officer, nor

was an agent.

      Rather, Plaintiff has argued that since this action was brought solely under a

basis of negligence, the burden shifted to Liu to show that he engaged in reasonable

care, without first establishing that he has the burden of reasonable care. This

ignores the statute regarding reasonable care. 19 USC 1484 states in relevant part:”.

      Except as provided in sections 1490, 1498, 1552, and 1553 of this title,
      one of the parties qualifying as “importer of record” under paragraph
      (2)(B), either in person or by an agent authorized by the party in
      writing, shall, using reasonable care –

         (A)make entry therefor by filing with the Bureau of Customs and
         Border Protection such documentation or, pursuant to an authorized
         electronic data interchange system, such information as is necessary
         to enable the Bureau of Customs and Border Protection to determine
         whether the merchandise may be released from custody of the
         Bureau of Customs and Border Protection;

      As Liu was neither the importer of record nor the agent of the importer of

record, as admitted by plaintiff, the reasonable care requirement does not apply.
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      The United States has also sought to argue that United States v. Greenlight

Organic Inc, 419 F.Supp.3d 1298 (Ct. Int’l Trade 2019) is not relevant as such case

involved a customs penalty brought under a fraud allegation and this matter is

brought under a negligence claim. Liu submits that while this case has purportedly

been brought under a negligence claim, with the burden shifting of 19 USC

1592(e)(4), the actual allegations, as improperly expanded upon in the response to

the motion to dismiss, with respect to Mr. Liu’s conduct are based on allegations of

a “scheme” and an “intent to conceal” – which allegations fall within the concept of

fraud. Due to the purported value and loss of duty, the amount of the penalty is the

same, whether it is based on negligence, gross negligence, or fraud. As such, the

U.S. appears to be executing an end-run around the protections in the statute, and

now seeks to raise facts purportedly showing fraud for the first time in the Court

action.   The Court should not permit them to do so, and the Court should apply

Greenlight.

      Finally, the matter must fail because of a failure to exhaust administrative

remedies. In its response to the first motion to dismiss, for the first time, the United

States provides an entirely new justification for why it included references to

unrelated entities and actions which occurred well after any alleged false statements

in this matter. However, as discussed above, and as can be seen from the Pre-Penalty
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Notice, Penalty Notice, and all of the administrative decisions, the United States

never mentioned, let alone discussed in detail, any of these allegations. The entire

administrative matter was based on some purported (and unidentified) personal

conduct by Mr. Liu. In fact, as of the September 8, 2022 response to the motion to

strike, the plaintiff was still claiming that, at most, these other entities provided proof

that Liu knew the procedures and did not engage in reasonable care. As made clear

by Greenlight the United States must do more than make general allegations.

Greenlight clearly states:

       Absent adequate facts supporting the fraud allegations, Plaintiff
       cannot impute knowledge to Aulakh merely by virtue of his
       position of power and influence over Greenlight. See Exergen. 575
       F.3d at 1327 & n,4.
       Greenlight at 1305. (Emphasis Added)

       In this matter the Plaintiff fail to allege, let alone demonstrate, a relationship

between Liu and G.L. Paper. Plaintiff cannot now raise a new theory seeking to

establish a relationship between G.L. Paper and Liu. Such attempt is barred by the

requirement of exhaustion of remedies.

Conclusion:

       Based on the foregoing, it is clear that the statute of limitations has run and

that the action was untimely filed. The purported act or acts of Defendant Liu, as

clearly stated in the complaint, was not the filing of the entry, it was an event which
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occurred prior to entry when Defendant Liu purportedly caused Defendant GL Paper

to file an entry with a false statement. Such action necessarily occurred at some

unspecified period prior to the date of entry. As the United States has admitted that

all entries were submitted five (5) years before the filing of this Court matter, and as

the statute of limitation period is five years, such action was necessarily untimely

filed.

         Furthermore, even if this action were timely filed, which it is not, the

complaint (and the underlying administrative action) fail to identify any specific

action undertaken by Defendant Liu and also fail to identify any specific power that

Defendant Liu would have over Defendant GL Paper. Accordingly, the complaint

fails to make sufficient allegations to support the bringing of an action against

Defendant Liu.

         Finally, in the response to the first motion to dismiss, Plaintiff raised for the

first time a series of new arguments with respect to Liu’s relationship with G.L.

Paper based on a broad claim that the existence of multiple companies showed the

existence of a scheme and thus the control by Liu of G.L. Paper. As such allegation

was never made in the underlying administrative action, nor in the complaint (and is

contrary to the theory presented by plaintiff in its response to the motion to strike),
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Plaintiff failed to exhaust its administrative remedies and the case must fail and

cannot continue.

      Defendant Liu respectfully moves of the issuance of an order severing and

dismissing Defendant Liu from this action, and to have this action, with respect to

Defendant Liu, dismissed with prejudice.      Defendant Liu further moves for the

issuance of fees pursuant to the Equal Access to Justice Act and such other relief as

the court deems appropriate and just.

                                             Respectfully Submitted,

                                             /s/ David J. Craven

                                             David J. Craven
                                             Craven Trade Law LLC
                                             3744 N Ashland Avenue
                                             Chicago, IL 606013
                                             (773) 709-8506

                                             Counsel to Zhe “John” Liu

March 15, 2023
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                         Table of Attachments

Attachment                              Description
  Number
Attachment I     Pre-Penalty Notice issued Jointly and Severally to GL Paper
                 Distribution LLC and John Liu, dated March 29, 2022,
                 accompanied by a Pre-Penalty Statement, and with
                 administrative case number 2022-4601-300560-01
Attachment II    Penalty Notice issued on May 2, 2022, in the amount of
                 $7,271,233.19
Attachment III   CBP’s Administrative Decision H325552 RDJ, issued by
                 CBP Office of Trade, Regulations and Rulings, Penalties
                 Branch, dated June 17, 2022
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                      Attachment I
 Pre-Penalty Notice issued Jointly and Severally to GL
 Paper Distribution LLC and John Liu, dated March 29,
2022, accompanied by a Pre-Penalty Statement, and with
   administrative case number 2022-4601-300560-01
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                  Attachment II
      Penalty Notice issued on May 2, 2022,
         in the amount of $7,271,233.19
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                   Attachment III
CBP’s Administrative Decision H325552 RDJ, issued by
CBP Office of Trade, Regulations and Rulings, Penalties
             Branch, dated June 17, 2022
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                                                                             U.S. Department of Homeland Security
                                                                             Washington, DC 20229



                                                                             U.S. Customs and Border Protection


June 17, 2022

OT:RR:BSTC:PEN: H325552 RDJ


Fines, Penalties & Forfeitures Officer
U.S. Customs and Border Protection
1100 Raymond Blvd., Suite 501
Newark, NJ 07102

        Re: FP&F Case No. 2022-4601-300560-01; GL Paper Distribution, LLC and
            John (“Zhe”) Liu; 19 U.S.C. § 1592

Dear Sir:

This letter is in response to your electronic transmission made to the Office of Trade (“OT”),
Regulations and Rulings (“RR”), Penalties Branch (“PB”), on June 1, 2022, where you forwarded a
petition for relief dated May 16, 2022 for Fines, Penalties & Forfeitures (“FP&F”) case number
2022-4601-300560-01. The petition was filed by Jennifer R. Diaz, Esq. (Diaz Trade Law)
(“Counsel”) on behalf of John (“Zhe”) Liu.

On May 2, 2022, the FP&F Office in Newark (NJ) issued Penalty Notice 2022-4601-300560-01
against GL Paper Distribution, jointly and severally, with Mr. Liu, stating that United States
Customs and Border Protection (“CBP”) was assessing a penalty in amount of $7,271,233.19,
pursuant to Title 19, United States Code (“U.S.C.”) Section 1592 (“19 U.S.C. § 1592”), for alleged
negligence, after CBP determined that, between March 31, 2017 and August 8, 2017, GL Paper
Distribution and/or John Liu entered, introduced and/or attempted to enter or introduce
merchandise (113 entries of “steel wire garment hangers” or “steel wire hangers”) into the
commerce of the United States, by means of material false statements, acts and/or omissions. GL
Paper Distribution was the importer of record for the 113 entries and GL Paper falsely declared the
goods to be from Malaysia. That the goods were produced in Malaysia was not established, and the
goods were found likely to have been sourced from the People’s Republic of China (“China”). Mr.
Liu was the person who CBP determined enabled the importer to falsely indicate to CBP that the
goods were produced in Malaysia. The merchandise was found to be subject to Department of
Commerce (“DOC”) antidumping duties (“AD”) under antidumping case number A-570-918. 1 The
Penalty Notice stated that the violations, committed by GL Paper Distribution and/or John Liu,
resulted in a total loss of revenue of $4,139,105.19. 2 Inasmuch as two times the total loss of revenue
would have exceeded the statutory limit set for 19 U.S.C. § 1592 violations, the penalty was assessed
at the domestic value of the merchandise ($7,271,233.19).

1
  See, Notice of Antidumping Order: Steel Wire Garment Hangers from the People’s Republic of China, 73 Fed. Reg.
  58111 (Dept. Commerce Oct. 6, 2008).
2 CBP intends to collect the loss of revenue through debt collection proceedings.


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Counsel for the petitioner claims that CBP has no legal authority to assess a penalty for the matter at
issue because Mr. Liu “was neither an owner or officer of GL Paper Distribution, LLC.(“GL
Paper”), the importer of record for the subject transactions and critically, was not involved in the
preparation of the entry or related customs documents. Critically, CBP has made no allegation of
any kind whatsoever against any officer or owner of GL Paper.” Counsel for the petitioner claims
that Mr. Liu is simply being “targeted” by CBP because he is the owner of “NC Supply,” which
bought domestic goods from GL Paper and, as a purchaser, Mr. Liu was not involved in the actual
importation of the merchandise. Moreover, Counsel claimed that CBP’s calculation of the domestic
value of the goods is “inflated” and an “abuse of discretion.” Counsel requested that the reviewing
office [Penalties Branch] contact Counsel if it intends to issue a decision contrary to the claims
alleged herein.

For the record, on June 7, 2022, Counsel made an oral presentation by teleconference with the Penalties
Branch reviewer to discuss the penalty assessment. During the teleconference, Counsel for the petitioner
addressed the claims made in its petition for relief and made additional claims that will be noted below. Our
decision on this case is set forth below.

FACTS:

GL Paper Distribution, LLC. is the importer of record for the steel wire garment hanger entries at
issue. In 2017, CBP found that GL Paper was importing steel wire garment hangers of Chinese
origin into the United States by falsely claiming them to be of Malaysian origin in order to avoid the
payment of antidumping duties owed on Chinese goods. The claimed Malaysian “manufacturers”
were said to be “Pole Econ Industries” and “Genius Hanger Manufacturer,” with facilities in
Malaysia. However, upon investigation, it was determined that the locations at the stated physical
addresses did not exist.

Consequently, CBP determined that the goods were falsely claimed to be from Malaysia, a country
for which this commodity is not subject to AD and that the steel wire garment hangers were instead
manufactured in China. Mr. John Liu was determined to be the person behind the false entry of the
merchandise into the United States. On August 17, 2017, CBP issued to GL Paper a notice of
initiation of a CBP investigation, and, on the same date, the Base Metal Center of Excellence and
Expertise (“BMCEE”) took interim measures to protect the U.S. revenue. As goods produced in
China, they were found subject to AD under DOC antidumping case A-570-918-000, having an AD
rate of 187.25%. 3 On August 18, 2017, CBP sent a CBP Form 29 Notice of Action, advising GL


3
  The merchandise, subject to AD, should have been claimed as type 03 entries (to indicate to CBP that the merchandise
is subject to AD and/or CVD (rather than 01 consumption entries). The applicable AD case is:
A-570-918-000 (China) steel wire garment hangers Initiated case 10/16/2007 Preliminary determination 04/22/2008
Final 08/27/2008, Order date 10/07/2008 effective for shipments on or after September 15, 2008. The scope of the
AD case is: “THE MERCHANDISE THAT IS SUBJECT TO THIS INVESTIGATION IS STEEL WIRE GARMENT HANGERS,
FABRICATED FROM CARBON STEEL WIRE, WHETHER OR NOT GALVANIZED OR PAINTED, WHETHER OR NOT COATED
WITH LATEX OR EPOXY OR SIMILAR GRIPPING MATERIALS, AND/OR WHETHER OR NOT FASHIONED WITH PAPER COVERS
OR CAPES (WITH OR WITHOUT PRINTING) AND/OR NONSLIP FEATURES SUCH AS SADDLES OR TUBES . THESE PRODUCTS
MAY ALSO BE REFERRED TO BY A COMMERCIAL DESIGNATION, SUCH AS SHIRT, SUIT, STRUT, CAPED, OR LATEX
(INDUSTRIAL) HANGERS. SPECIFICALLY, EXCLUDED FROM THE SCOPE OF THIS INVESTIGATION ARE WOODEN, PLASTIC,
AND OTHER GARMENT HANGERS THAT ARE NOT MADE OF STEEL WIRE. THE PRODUCTS SUBJECT TO THIS
INVESTIGATION ARE CURRENTLY CLASSIFIED UNDER HTSUS SUBHEADING 7326.20.0020 AND 7323.99.9060. ALTHOUGH

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Paper of the CBP investigation and of rate advances for GL Paper’s unliquidated entries. CBP rate
advanced 154 unliquidated entries to include the antidumping rate of 187.25% by adding the “all
others” antidumping case, A-570-918-000, and changing the entry type from “01” consumption to
“03” antidumping entry type code. CBP found that GL Paper had correctly classified the goods
using subheading 7326.20.0020, Harmonized Tariff Schedule of the United States (“HTSUS”), with
an ad valorem duty rate of 3.9%. However, the total loss of revenue for GL Paper’s undeclared ADs
amounted to $4,139,105.19. The domestic value of the subject merchandise was determined by CBP
to be $7,271,233.19.

As further background to this case, on May 12, 2017, domestic wire hanger manufacturer, M&B
Metal Products Company, Inc. (“M&B”) filed an Enforce and Protect Act (EAPA) allegation with
CBP, pursuant to 19 Code of Federal Regulations (“C.F.R.”) § 165.11 against various importers,
among them, GL Paper Distribution LLC. That allegation became EAPA Investigation No. 7191. 4
M&B alleged that various companies, among them GL Paper, were declaring a false country of
origin on entries for steel wire garment hangers by falsely claiming them as goods from Malaysia.
M&B’s allegations were referred to the BMCEE to initiate an investigation. Consequently, on May
25, 2017, CBP sent a CBP Form 28: Request for Information to GL Paper requesting full
production records for its entries of steel wire hangers. The subject CBP Form 28 requested all
information relating to the production of the steel wire hangers, including, but not limited to, all
production processes, references to raw material, machine descriptions, purchase orders, packaging
processes as well as transportation information and loading-to-final destination information. On
June 22, 2017, GL Paper provided to the BMCEE a company profile and brochure from “Pole
Econ Industries,” one of the two manufacturers in Malaysia that GL Paper claimed had
manufactured the steel wire hangers that they imported. GL Paper also produced an electric bill for
Pole Econ Industries and a transportation bill issued to Pole. Both documents referenced physical
addresses in Malaysia. The company also produced two purchase orders purportedly for raw
materials related to Pole. After reviewing these documents, the BMCEE determined that GL Paper’s
response to the May 25, 2017 CBP Form 28 request for Information was inadequate and sent a
second (CBP Form 28) request for records to GL Paper on July 19, 2017. According to the record,
GL Paper did not respond to the second CBP Form 28. Consequently, based on those documents,
CBP could not determine if the steel wire garment hangers imported by GL Paper had been
manufactured in Malaysia as claimed by GL Paper at the time of entry. CBP conducted further
investigation and sent a CBP team from various offices in CBP to perform on-site visits in Malaysia
from July 26 to July 28, 2017. The purpose of the on-site visits was to ascertain whether the hangers
imported by GL Paper during the time period of review had, in fact, been made in Malaysia by Pole
Econ Industries and/or Genius Hanger Manufacturer Supplies. On or about July 27, 2017, upon the


THE HTSUS SUBHEADING IS PROVIDED FOR CONVENIENCE AND CUSTOMS PURPOSES, THE WRITTEN DESCRIPTION OF
THE MERCHANDISE IS DISPOSITIVE.”
4
  In the Enforce and Protect Act (“EAPA”) Consolidated Investigation No. 7191, U.S. Customs and Border Protection
(“CBP”) “determined that substantial evidence exists on the record that the following companies entered steel wire
garment hangers covered by antidumping (“AD”) duty order A-570-9181 into the customs territory of the United States
through evasion: Brooklyn Knights Trading, Inc. (“Brooklyn Knights”), Casa USA, Inc. (“Casa USA”), Garment Cover
Supply, LLC (“Garment Cover”), GL Paper Distribution, LLC (“GL Paper”), Masterpiece Supply, Ltd. (“Masterpiece
Supply”), Newtown Supply NY, Inc. (“Newtown Supply”), Nice Guy Trading, Inc. (“Nice Guy”), and Subcos Percha
De Metal Factory (“Subcos Percha”) (collectively the “Companies”). Specifically, substantial evidence demonstrates that
the Companies imported wire hangers from the People’s Republic of China (“China”) that were transshipped through
Malaysia to the United States.” The applicable AD order: Notice of Antidumping Order: Steel Wire Garment Hangers
from the People’s Republic of China, 73 Fed. Reg. 58111 (Dept. Commerce Oct. 6, 2008).

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CBP team visiting the stated addresses, CBP determined that those alleged manufacturing facilities
did not exist. Consequently, due to the lack of evidence of manufacturing facilities at the claimed
Malaysian locations, the goods were determined not to be from Malaysia but from China.
Therefore, on August 17, 2017, CBP sent a notice to GL Paper pursuant to 19 C.F.R. § 165.15(d)
stating that it had initiated an EAPA investigation into the company’s importation of its steel wire
hangers. The company did not respond to requests for information related to the EAPA
investigation and did not provide a final written argument or response to the allegations. On August
18, 2017, CBP sent a CBP Form 29 Notice of Action to GL Paper stating:

           This is to inform you that the Base Metals Center of Excellence and Expertise is
           conducting an investigation under 19 USC 1592 into U.S. Customs and Border
           Protection transactions involving your company as the importer of record,
           mainly GL Paper Distribution LLC. The subject merchandise being reviewed is
           steel wire garment hangers from China. CBP has reason to believe this
           merchandise is subject to antidumping case A570-918-000, with a deposit rate of
           187.25%. The date of the transactions entered were on or after 5/12/2016 (more
           recent entries will be addressed separately). You are requested to deposit the
           applicable ADD duties associated with the entries of steel wire hangers from
           5/12/2016 to present at this time. Any duties not deposited at this time will
           accrue interest from the date of the original deposit was due and you will be
           billed accordingly. All future entries of this merchandise must be submitted with
           all applicable antidumping duties. **amended for date error***

Finally, on March 15, 2018, pursuant to 19 C.F.R. § 165.27, CBP made a final determination as to
the allegations contained in the EAPA case, finding, among other things, that there was substantial
evidence that GL Paper had entered steel wire garment hangers subject to anti-dumping duties into
the United States through evasion. The determination was based on the aforementioned site visits
conducted in July 2017 and a finding of no actual production by Pole Econ Industries. For Genius
Hanger Manufacturer Supplies, no physical location was found and CBP apparently applied adverse
inferences to that effect. All of GL Paper’s steel wire garment hangers were determined to be
“imported Chinese origin hangers that were transshipped through Malaysia, and thus covered by the
AD order on steel wire hangers from China.” 5

On March 29, 2022, FP&F in Newark issued a Pre-Penalty Notice to GL Paper Distribution, LLC
and John Liu, jointly and severally, stating that CBP was considering assessing a penalty in the
amount of $7,271,233.19 pursuant to 19 U.S.C. § 1592, for alleged negligence, for 113 entries that
were filed with CBP between March 31, 2017 and August 8, 2017, relating to entries of “steel wire
garment hangers.” The Pre-Penalty stated, among other things:

            7. Facts Establishing the Violation:

               GL Paper Distribution, LLC and John Liu, jointly and severally, entered, introduced,
               or attempted to enter or introduce, or aided and abetted the entry, introduction, or
               attempted entry or introduction of the merchandise referenced above into the commerce
               of the United States, by means of material false statements, acts, or omissions.
               Specifically, GL Paper Distribution LLC and John Liu falsely declared that 113 entries
               of steel wire hangers, filed between March 31, 2017 and August 8, 2017, were
               manufactured by Pole Econ Industries and Genius Hanger in Malaysia which enabled

5
    See, EAPA Notice of Final Determination as to Evasion, EAPA Cons. Case Number 7191 March 15, 2018.

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            them to avoid paying anti-dumping duties on steel wire garment hangers from the
            People’s Republic of China which are subject of Department of Commerce anti-dumping
            Case A-570-918.

        8. Level of Culpability: Negligence

        9. Proposed Penalty $7,271,233.19

The Entry Appraisal Spreadsheet listed the entries at issue which were entered at various ports of entry. The
Entry Appraisal Spreadsheet provided the loss of revenue (“LOR”) and the Domestic Value as:

        “**estimated values for ocean freight filed for ACN and EH3 entries
        were calculated @ .1837/kg based on shipping charges included in
        ES EKJ-0013381. Domestic value calculated to include entered value,
        HMF, MPF, duty paid, antidumping/countervailing duties owed, ocean
        freight charges, brokerage fees and profit margin per 19 CFR 162.43.”

Because of the imminent running of the statute of limitations, FP&F provided seven days for both parties to
respond to the Pre-Penalty Notice. On April 5, 2022, Jennifer Diaz sent a written response to the pre-penalty
notice. According to the record, on April 7, 2022, an oral presentation was held via TEAMS with Counsel
Jennifer Diaz and associates Sharath Patil and David Craven, as well as with officials from CBP’s FP&F,
BMCEE, and Office of the Chief Counsel. Counsel for the petitioner disputed Mr. Liu’s involvement with
GL Paper Distribution, LLC. and stated that Mr. Liu should not be named in the subject action, inasmuch as
he was neither, at present nor in the past, an officer for GL Paper Distribution, LLC. Upon review of the
claims made by Counsel, FP&F issued a Penalty Notice dated May 2, 2022 with “no changes” against GL
Paper Distribution and Mr. Liu (jointly and severally), as alleged by CBP in the pre-penalty statement.

Specifically, the Penalty Notice dated May 2, 2022 stated:
         Demand is hereby made for payment of $7,271,233.19 representing penalties
         assessed against you for violation of law or regulation, or breach of bond, as set
         forth below:

        United States Customs and Border Protection (CBP) has determined you have
        acted in violation of the provisions of title 19, United States Code 1592(a),
        19 U.S.C. 1592(a), in that you entered, introduced or attempted the entry or
        introduction of the following merchandise steel wire hangers into the
        United States commerce through a false document, electronic transmission
        of data or information, written or oral statement, or act that is material and
        false or an omission that is material.

        The date the violation began is 03/31/2017. The total amount of monetary
        loss, including duties, taxes, and fees is $4,139,105.19, which includes an actual
        loss of 0.00 and a potential loss of $4,139,105.19.

        The penalty in the amount of $7,271,233.19, which is equal to calculations
        completed by the Base Metal Center. The penalty is based on a determination
        of Negligence.

        Material facts establishing the violation were attached to the pre-penalty notice.
        CBP’s analysis of issues raised in the pre-penalty notice are in the attached document.

        You have the right to petition for relief from the penalty under the provisions of

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        Title 19, United States Code, section 1618 (19 U.S.C. 1618).

        Please be advised that this penalty notice is being issued jointly and
        severally against GL Paper Distribution, LLC and John Liu.

On May 16, 2022, Counsel for the petitioner filed the instant petition for relief and which is now the subject
of our review. On June 7, 2022, Counsel made an oral presentation to the Penalties Branch.

LAW:

Title 19 U.S.C. § 1592(a)(1) provides in applicable part that:

[N]o person, by fraud, gross negligence, or negligence –

(A) may enter, introduce, or attempt to enter or introduce any merchandise into the commerce of
the United States by means of –

(i)         any document or electronically transmitted data or information, written or oral
statement, or act which is material and false, or

(ii)         any omission which is material.

Negligence is defined as

[A]n act or acts (of commission or omission) done through either the failure to exercise the degree
of reasonable care and competence expected from a person in the same circumstances either: (a) in
ascertaining the facts or in drawing inferences therefrom, in ascertaining the offender’s obligations
under the statute, or (b) in communicating information so that it may be understood by the
recipient. As a general rule, a violation is determined to be negligent if it results from failure to
exercise reasonable care and competence: (a) to ensure that statements made and information
provided in connection with the importation of merchandise are complete and accurate; or (b) to
perform any material act required by statute or regulation (19 CFR Part 171, App. B, Para. (C)(1)).

19 U.S.C. § 1592(c)(3) Negligence. A negligent violation of subsection (a) is punishable by a civil
penalty in an amount not to exceed—
(A) the lesser of—
(i) the domestic value of the merchandise, or
(ii) two times the lawful duties, taxes, and fees of which the United States is or may be deprived, or
(B) if the violation did not affect the assessment of duties, 20 percent of the dutiable value of the
merchandise.

Title 19 U.S.C. § 1592(e)(4) provides that if the penalty is based on negligence, the United States
shall have the burden of proof to establish the act or omission constituting the violation, and the
alleged violator shall have the burden of proof that the act or omission did not occur as a result of
negligence.




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With regard to the reasonable care standard, in reporting the Customs Modernization Act (“Mod
Act”) to the House floor, the House Ways and Means Committee commented:

       In meeting the “reasonable care” standard, the Committee believes that an importer
       should consider utilization of one or more of the following aids to establish evidence
       of proper compliance: seeking guidance from the Customs Service through the pre-
       importation or formal ruling program; consulting with a Customs broker, a Customs
       consultant, or a public accountant or an attorney; using in-house employees such as
       counsel, a Customs administrator, or if valuation is an issue, a corporate controller,
       who have experience and knowledge of customs laws, regulations, and procedures. .
       .

       For example, in seeking advice for a classification issue, the Committee expects an
       importer to consult with an attorney or an in-house employee having technical
       expertise about the particular merchandise in question. . .

       In using a qualified expert, the importer is also responsible for providing such expert
       with full and complete information sufficient for the expert to make entry or to
       provide advice as to how to make entry. If the above steps are taken, the importer
       will be presumed to have acted with “reasonable care” in making entry.

       The following are two examples of how the reasonable care standard should be
       interpreted by Customs: (a) the failure to follow a binding ruling is a lack of reasonable
       care; and (b) an honest, good faith professional disagreement as to correct
       classification of a technical matter shall not be lack of reasonable care unless such
       disagreement has no reasonable basis (e.g., snow skis are entered as water skis).

       To the extent that an importer fails to use reasonable care in classifying and valuing
       the merchandise and presenting other entry data, the Customs Service may impose a
       penalty under the appropriate culpability level of 19 U.S.C. § 1592

(House Ways and Means Committee Report at 120 (H.R. Rep. 103-361, 103d Cong., 1st Session).

Title 19 U.S.C. § 1671 and relevant provisions concern countervailing duties and the procedures to
initiate a countervailing duty investigation. Title 19 U.S.C. § 1673 and relevant provisions concern
antidumping duties and the procedures to initiate an antidumping duty investigation.

To ensure that antidumping duties and countervailing duties (“AD/CVDs”) are properly deposited,
CBP, pursuant to 19 U.S.C. § 1484(a)(2)(A), promulgated 19 CFR § 141.61(c), which provides that
“the entry summary filed for merchandise subject to antidumping or countervailing duty order shall
include the unique identifying number assigned by DOC’s International Trade Administration.”
CBP has placed the instructions for completing the CBP Form 7501 (Entry Summary) on its
website. These instructions require importers to specify entry type code 03 in block 2 for entries
subject to AD or CVD. The instructions for block 29B instruct importers to record the applicable
AD/CVD case number(s) as assigned by DOC. The instructions for block 33B instruct importers
to record the AD and/or CVD rate(s) designated by DOC, directly opposite the respective
AD/CVD case number. The CIT has held that negligent failure to declare on entry that goods are

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subject to AD [or CVD] is a violation of 19 U.S.C. § 1592. United States v. Ferro Union, Inc., 24 C.I.T.
762 (2000).

Title 19 U.S.C. § 1618 provides CBP’s authority for the remission or mitigation of penalties and
19 CFR Part 171, App B sets forth the guidelines for the imposition and mitigation of section 1592
penalties.

CLAIMS MADE IN THE PETITION DATED MAY 16, 2022:

Counsel for the petitioner requested confidential treatment. Counsel claimed that the penalty must
be rescinded inasmuch as it is egregious, extraordinary, arbitrary, and CBP has no legal authority to
issue the penalty notice to the petitioner under the facts as alleged by CBP. Counsel claims that
neither the subject Pre-Penalty Notice nor Penalty Notice provide “the barest detail” as to what
actions the petitioner engaged in order to give rise to the alleged violation. Counsel claims that by
failing to articulate the basis for this penalty, “CBP has deprived petitioner of its due process rights
by failing to identify any actual alleged violation.”

Counsel claims that John Liu is the President of NC Supply, Inc., a U.S. distributor of a variety of
goods including, but not limited to, plastic bags, film, dry cleaning, and garment supplies. NC Supply
is a Florida Profit Corporation founded on November 17, 2004. (Exhibit “C”). Counsel claims that
neither NC Supply nor John Liu “are related to, nor is there any ownership or control over GL
Paper, the Importer of Record listed on the Penalty Notice.” Counsel asserts that John Liu’s actions
(as president of NC Supply, Inc.) are to have merely purchased “domesticated” goods from GL
Paper after importation. Thus, according to Counsel, Mr. Liu’s actions were legal, and did not
constitute negligence, and not even “clerical error.” Counsel claims that GL Paper and Mr. Liu (and
his company, NC Supply) are entirely unrelated entities and they operate independently of one
another. According to Counsel, GL Paper was dissolved, allegedly since August 15, 2017 (“Exhibit
D”).
According to Counsel, Mr. Liu was not involved in the preparation of the entry or related customs
documents. According to Counsel, it is “black letter law” that a purchaser of goods in the United
States, imported by third parties, is not responsible for the importations. Counsel enclosed under its
“Exhibit F,” the purported “agreement between GL Paper and NC Supply in which NC Supply
agreed to purchase the subject merchandise” and asserts that as demonstrated by the transaction
documents, neither the petitioner nor NC Supply had any role in the importation of the subject
merchandise, and NC Supply served only as a domestic purchaser. Counsel claims that the Mr. Liu is
simply being targeted because CBP has no ability to access funds due to GL Paper's dissolution.
Counsel claims that CBP’s actions are “unfairly and unconstitutionally reaching for Petitioner's
assets, in violation of the Takings Clause of the Fifth Amendment of the U.S. Constitution.”
Counsel adds that if CBP believes that it has authority to impose duties on U.S. customers for
products imported by others and to establish liability for their actions, it can only do so (if at all)
through a notice and comment process under the “Administrative Practices Act.”

In terms of CBP’s allegation of negligence, Counsel avers that GL Paper’s alleged unlawful conduct
does not rise to the level of negligence being that a violation is determined to be negligent if it
results from an act or acts (of commission or omission) done through either the failure to exercise
the degree of reasonable care and competence expected from a person in the same circumstances
either: (a) in ascertaining the facts or in drawing inferences therefrom, in ascertaining the offender's
obligations under the statute; or (b) in communicating information in a manner so that it may be

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understood by the recipient. As a general rule, a violation is negligent if it results from failure to
exercise reasonable care and competence: (a) to ensure that statements made and information
provided in connection with the importation of merchandise are complete and accurate; or (b) to
perform any material act required by statute or regulation. Counsel avers there is no allegation of
negligence involving the subject import transactions, thus, “we cannot address the level of
culpability because CBP is NOT claiming any specific action taken. In order to take action to
introduce merchandise, a specific action MUST be alleged.”

Additionally, even if CBP were to specifically identify and allege some action by NC Supply to be
violative, NC Supply’s president, as an individual, cannot be found personally liable, inasmuch as 19
U.S.C. § 1592(a)(1) prohibits any person from fraudulently or negligently entering, introducing, or
attempting to enter or introduce merchandise into U.S. commerce by means of any document or
electronically transmitted data or information, written or oral statement, or act that is material and
false or any material omission. Thus, according to Counsel, in landmark court case, U.S. v. Trek
Leather, Inc. and Harish Shadadpuri, 724 F.3d 1330 (Fed. Cir. Jul. 30, 2013), the U.S. Court of Appeals
for the Federal Circuit (“CAFC”) was faced with the question of whether or not the standard
described under 19 U.S.C. § 1592(a)(1) applied to a person who was acting in his or her capacity as a
corporate officer of the “importer of record.” The CAFC held that persons who “enter” goods
include individuals. However, the court further clarified that the decision did not go so far as to
“pierce the corporate veil,” stating that Shadadpuri was not being held personally liable because of
his status as the officer or owner but instead because he himself personally violated the statute and
there was a “core principle” in the law that “a person who personally commits a wrongful act is not
relieved of liability because the person was acting for another.” According to Counsel, the facts in
relation to Mr. Liu can be distinguished from Trek Leather because Mr. Liu was not involved in the
importation of the subject merchandise, as he served as the president of another company, NC
Supply, which for all purposes, was the purchaser and consignee.

Furthermore, Counsel claims that CBP’s calculation of the domestic value for the entries at issue is
entirely unsubstantiated and exorbitantly inflated. Counsel presents, as comparison, the values
relating to “exact goods” but from an entry filed by NC Supply (NC Supply’s Entry No.
CH317705752). Counsel claims that such “same goods” received a “CBP alleged appraisal of
domestic value” that was significantly lower. While Counsel understands that in GL Paper entries,
the domestic value was calculated using a formula purportedly based on the customs regulation (19
CFR § 162.43), the calculation, notwithstanding, is arbitrary and an abuse of discretion. Counsel
avers that “such calculation bears no relationship at all to the calculation nor has CBP explained how
such calculation bears any relationship to domestic value.”

In conclusion, Counsel claims that CBP does not have legal authority to issue a penalty against the
president of company that purchased “domesticated” goods. It is also inequitable for Mr. Liu to be
held liable for any alleged duties owed by the importer of record, GL Paper, and, therefore, the
penalty action must be rescinded.

Summary of Claims Made in the Oral Presentation of June 7, 2022:

Counsel vocalized the claims made above and presented the following e-mail discussion regarding its NC
Supply entry (CH317705752, which is not included in the 113 entries comprising this case. Counsel stated the
following:


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        Thank you for the opportunity to discuss the case with you today. We believe that
        you should now agree this penalty case is entirely unfounded and unlawful, Mr. Liu
        has no direct relationship with GL Paper and its importation activities, and this penalty
        as it relates to Mr. Liu should be immediately cancelled.

        As it relates to the “domestic value” and Exhibit “G” - Entry Number CH317705752.
        In the original submission Exhibit “G” contained a commercial invoice from Pole Econ
        to GL Paper, (NC Supply obtained this document from GL Paper in response to a request
        to GL Paper for a sample entry packet). What was missing, and should have additionally
        have been provided was the attached a commercial invoice from NC Supply to its customer,
        JL Imports LLC. We are providing this commercial invoice to demonstrate that the markup is
        modest, and much less than the exorbitant 327% markup suggested by CBP. Specifically, we
        encourage you to compare the attached commercial invoice with the commercial invoice issued
        by the foreign seller (Pole Econ) to GL Paper (see attached under Exhibit G). As shown, for the
        white collar shirt hangers, GL Paper purchased the hangers for $11.45 per carton. Meanwhile,
        the retail price from NC Supply to its customer is $15 per carton. This represents a markup
        of 31% rather than the 327%.

        Additionally, please note that NC Supply sold imported hangers before purchasing them
        domestically from GL Paper and continued to sell imported hangers after terminating its
        relationship with GL Paper.

        Please let us know if you have any additional questions.

ANALYSIS:

Title 19 U.S.C. § 1592(a)(1) states, in general, that, without regard to whether the United States is or
may be deprived of all or a portion of any lawful duty, tax, or fee thereby, no person, by fraud, gross
negligence, or negligence—(A) may enter, introduce, or attempt to enter or introduce any
merchandise into the commerce of the United States by means of --(i) any document or
electronically transmitted data or information, written or oral statement, or act or omission which is
material and false or (ii) any omission that is material. Exceptions to the aforementioned prohibition
are clerical error(s) or a mistake of fact unless it constitutes a pattern of negligent conduct. In the
case of penalties assessed based on alleged negligence, CBP has the burden to establish that a
material false statement, act, or omission was made and, once established, the burden then shifts to
the alleged violator to affirmatively demonstrate that it exercised reasonable care under the
circumstances (see, United States v. Ford Motor Co., 29 Ct. Int'l Trade 827, 395 F. Supp. 2d 1190
(2005), aff'd in part, rev'd in part on other grounds, 463 F.3d 1267 (Fed. Cir. 2006)).

In the present 19 U.S.C. § 1592 penalty action with GL Paper, the documents filed with the Florida
Secretary of State identify Liang Wang, Sr., as the president of GL Paper Distribution. However,
based on the preponderance of the evidence in the record, CBP determined that, even if Mr. Liu was
not the named importer of record and not listed in GL Paper Distribution’s corporate structure, Mr.
Liu was, nonetheless, a “person” within the meaning of the statute because he arranged for the entry
of the hangers and produced documentation with which to file the entries. The fact that Mr. Liu was
not the importer of record, does not mean that he cannot be found liable under the statute. Under
Footnote 14 of United States v. Pan Pac. Textile Grp., Inc., 395 F. Supp. 2d 1244 (CIT, 2005), the CIT
stated that, in addition to the liabilities that properly correspond to importers, “There is also support
for the proposition that anyone in a position to satisfy the other elements of a 19 U.S.C.§ 1592(a)
violation is a “person” within the meaning of the statute, regardless of any other legal status they
might hold. See United States v. Golden Ship Trading, 22 CIT 950, 953 (1998) (“One who violates the
statute is always liable whether or not the importer of record.”).” Therefore, the evidence gathered
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by the BMCEE during the course of its investigation of GL Paper indicates that Mr. Liu had a role
in the importation or in the introduction of the steel wire garment hangers and making false claims
at the time of their entry relating to country of origin. Moreover, Mr. Liu had an economic motive
to evade. We can reasonably infer that Mr. Liu was cognizant that steel wire hangers imported from
China were subject to anti-dumping duties and if such steel wire hangers were imported as
“manufactured in Malaysia,” the goods would not be subject to AD. Moreover, this was known to
Mr. Liu well before GL Paper imported hangers on February 6, 2017, inasmuch as Mr. Liu, at
previous times, had properly declared importations of steel wire garment hangers as being subject to
anti-dumping duties for his companies NC Supply and/or NC Supply Group. Additionally, Mr. Liu
had participated in DOC reviews (DOC’s “new shipper reviews”) as early as 2013. 6 GL Paper
appears to have imported the steel wire hangers for a period of seven months and it was Mr. Liu
who used GL Paper to evade liabilities associated with AD for goods originating in China. 7 We
conclude that Mr. Liu introduced or facilitated the introduction by directing entry filing and
producing entry documentation. Furthermore, the BMCEE discovered that Mr. Liu had also been
involved with similar companies in the United States that imported steel wire garment hangers that
falsely claimed the commodity as manufactured in places such as Malaysia, India, and Thailand.

We conclude that CBP has sufficiently established by a preponderance of the evidence that GL Paper
Distribution, LLC. and Mr. Liu committed violations of 19 U.S.C. § 1592. These violations were material
violations of 19 U.S.C. § 1592 because they deprived the U.S. government of lawful revenue. The false
country of origin designation also resulted in the evasion or avoidance of AD liabilities which is a Priority
Trade Issue (“PTI”) for CBP.

Once the false statement for a 19 U.S.C. § 1592 violation is established, the burden then shifts to the alleged
violator(s) to establish that it used reasonable care. No claims of using reasonable care were made in the
petition. In accordance with 19 U.S.C. § 1481, § 1484 and § 1485 GL Paper was responsible for the content
of the CBP Form 7501s, and for the information contained in the supporting documentation pertaining to
classification, value, and the applicable rate of duty, including ADs and/or CVDs. If GL Paper was not aware
of the falsity of the claim of manufacturing in Malaysia, the capacity to manufacture overseas should have
been an area of inquiry with the pertinent parties. There are resources/methods which U.S. parties can rely
upon to verify production capabilities for goods that are manufactured overseas. We conclude that, in view of
the circumstances, it cannot be said that GL Paper exercised reasonable care to ensure the correctness of the
country of origin for the subject entries. As for Mr. Liu, while he may have complied with the reasonable care
standard that is expected from importers pursuant to 19 U.S.C. § 1484 when he imported for his companies
NC Supply and/or NC Supply Group, LLC, Mr. Liu clearly failed to comply with that standard with regard to
GL Paper Distribution. He assisted GL Paper Distribution by arranging for the importer to falsely claim the
goods to be of Malaysian origin so as to avoid the AD duties imposed on goods originating in China.


6
  The record also shows that Mr. Liu imported wire hangers using NC Supply, Inc. from May 10, 2005 to January 8,
2011 and for NC Supply Group, LLC., from March 4, 2012 to August 23, 2012. For those companies, Mr. Liu properly
declared AD liabilities.
7
  On September 16, 2014, in United States v Trek Leather, Inc., 767 F.3d 288 (Fed. Cir. Sept. 16, 2014)(en banc), the ten
Court of Appeals judges participating in the decision unanimously reaffirmed that individual officers and employees of
the corporate importer of record can violate 19 U.S.C. § 1592 by gross negligence or negligence, provided the
government can prove that they personally participated in the violation. While such a person may not “enter” the
merchandise, he or she does “introduce” the merchandise into the United States in violation of 19 U.S.C. § 1592. In
Trek Leather, the government proved that the individual officer/employee personally participated in the violation by
directing the broker to transfer the ownership of the merchandise from another of his corporations to Trek Leather, and
by sending the undervalued invoices to the broker to complete the entry. In the subject case against Mr. Liu, Mr. Liu
helped introduce the merchandise.

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As for the claims made that the domestic value was inflated, we affirm the domestic value as
established by CBP’s BMCEE. CBP considers the price at which such or similar property is freely
offered for sale at the time and place of appraisement, of like quantity and quality, and in the
ordinary course of trade (which includes including taxes, fees and related charges) to determine the
U.S. domestic value. 8 However, we cannot confirm the claims by Counsel that the “exact” or
“same” merchandise was entered by NC Supply under Entry No. CH317705752 which CBP had
appraised at a lower value. In the invoices for those goods (i.e., merchandise that was not part of the
113 entries at issue in this case) provided by email on June 7, 2022, we cannot determine if the
goods are the same, if the alleged country of origin (Malaysia) is correct and whether those invoices
are indeed what they are claimed to represent. We also do not know if that entry liquidated with
values “as entered” by the broker or importer or, if CBP actually determined such value.
Consequently, the claim made that the domestic values are “inflated” is not supported in the
petition. The values, as determined by CBP, will stand.

DECISION:

With respect to the entries that are the subject of this case we find that GL Paper Distribution, LLC,
and Mr. John “Zhe” Liu committed violations of 19 U.S.C. § 1592 at a level of culpability of
negligence.

For 19 U.S.C. § 1592 violations involving a loss of duties CBP’s Mitigation Guidelines (19 CFR Part
171 App. B) allow mitigation for a negligent violation from a minimum of .5 times the loss of duty to
a maximum to 2 times the loss of duties (not to exceed the domestic value of the merchandise) and, in
consideration of any aggravating and mitigating factors found. Generally stated, mitigating factors
include contributory customs error, cooperation with the investigation, immediate remedial action
taken, inexperience in importing, prior good record and inability to pay [sufficiently established with
financial records]. Aggravating factors include obstruction of a CBP investigation, withholding
evidence, providing misleading information, having prior violations of 19 U.S.C. § 1592, violations
involving textiles, having a motive to evade and/or failure to comply with a lawful request for records
or summons.

We find no mitigating factors. As aggravating factors we consider GL Paper and Mr. Liu to be experienced
entities which understood the commodity to be potentially subject to AD liabilities and that the violations
(113 entries) involved a CBP Priority Trade Issue. As such, the assessed penalty amount of $ $7,271,233.19
will not be mitigated. The petition for relief is hereby DENIED.

Please be advised that, pursuant to 19 CFR § 171.22, this decision will be effective for no more than seven
(7) days considering that the petitioner has not provided a waiver of the Statute of Limitations. If payment
of the stated amount is not received, FP&F will enforce the debt by promptly forwarding the matter to the
pertinent Office of the Chief Counsel (OCC) for referral of the matter to the Department of Justice (DOJ)
for collection.




8
 In United States v. Pan Pac. Textile Grp., Inc., 30 Ct. Int'l Trade 138 (U.S. 2006) footnote 2, the CIT states that “domestic
value is defined as the "price at which such or similar property is freely offered for sale at the time and place of
appraisement[.]" 19 C.F.R. § 162.43(a) (2005). "Freight, profit and duty are therefore included." United States v. Quintin, 7
CIT 153, 158 n.3 (1984) (emphasis added).”


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Please notify the petitioner of this decision, through Counsel, and include a copy of this letter with
your notification.


Sincerely,



Paul Pizzeck
Chief, Penalties Branch
Office of Trade-Regulations & Rulings
U.S. Customs & Border Protection




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